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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


DONALD J. TRUMP FOR PRESIDENT,
INC., et al.,

          Plaintiffs,                      Case No. 1:20−cv−1083

    v.                                     Hon. Janet T. Neff

JOCELYN BENSON, et al.,

          Defendants.
                                     /

                  NOTICE REGARDING ASSIGNMENT OF CASE
       NOTICE is hereby given that the above−captioned case was filed in
this court on November 11, 2020 . The case has been assigned to Janet T.
Neff .



                                         CLERK OF COURT

Dated: November 12, 2020          By:     /s/ Kelly R. Van Dyke
                                         Deputy Clerk
